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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

N. sCoTT BURNS CASE i\tUivn`z}i:R:"4

)
Plaintiff ) ’jc '[( y ZZ)L,L(»fJ/+)
)
v. ) COMPLAINT -
) JURY TRIAL DEMANDED
BANK OF AMERICA N.A., )
TRANS UNION, LLC, )
EXPERIAN INFORMATION SOLUTIONS, )
INC.., and )
EQUIFAX INFORMATION SERVICES LLC )
Defendants )
) MARCH l, 2007

 

I. lNTRODUCTlON

1. This is a suit brought by a consumer, N. Scott Burns, against Def`endants Bank of
America N.A., Trans Union, LLC, Experian Inf"ormation Solutions, Inc., and Equifax
Information Services LLC, for violations of the Fair Credit Reporting Aet (“FCRA”), 15 U.S.C.
§ 1631 et Seq.

II. PARTIES

2. Plaintiff, N. Scott Burns, is a natural person residing in East Hartford, Connecticut.
Plaintiffis a consumer as defined by the FCRA, 15 U.S.C. § léSla(c), and as defined by the
FDCPA, 15 U.S.C. § 16923(3).

3. Defendaiit Banl< ofAmerican N.A. (“MBNA”) is a national bank, which acquired
MBNA, the original extender of` credit from which this dispute stems. MBNA is a foreign
corporation and is a credit card and finance company that grants credit. MBNA is a f`urnisher of
information to consumer reporting agencies as contemplated by the FCRA, 15 U.S.C. § 1681s-2.

4. Def`endant Trans Union, LLC (“Trans Union”) is a Delaware limited liability

company, located in Illinois and is a consumer reporting agency as that term is defined by the

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FCRA, 15 U.S.C. § loSla(D.

5. Defendant Experian lnf`om'iation Solutions, lnc. (“Experian ”) is an Ohio corporation,
located in California and is a consumer reporting agency as that term is defined by the FCRA, 15
U.S.C. § l681a(f`).

6. Defendant Equifax information Services LLC (“Equifax”) is a Georgia limited
liability company, located in Georgia and is a consumer reporting agency as that term is defined
by the FCRA, 15 U.S.C. § 1681a(f).

Ill. JURISDICTION

7. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § l681p, 28 U.S.C. §§ 1331
and 1337, and Fed. R. Civ. P. lS(a).

8. This Court has jurisdiction over the defendants because they regularly conduct
business in this state.

9. Venue in this Court is proper, as the Plaintiff is a resident of Connecticut and the
violations that are the subject of this litigation occurred within this State.

IV. FACTUAL ALLEGATIONS

lO. On January 1 l, 1997, Plaintiff’s spouse applied for a credit card account with MBNA.
Plaintiff did not authorize himself as an applicant or a co-applicant on the above referenced
application

1 l. After Plaintiff"s spouse filed for Chapter 7 Banl<ruptcy, which discharged the above
mentioned credit card account, MBNA sent a letter dated November 17, 2005, stating that the
Plaintiff would be responsible for the remaining balance on the credit card.

12. Plaintiff then requested a copy of the original contract with signatures to verify

Plaintiff"s responsibility for the account.

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13. MBNA responded on November 30, 2005, with a photo copy of a typed form that did
not include any signatures.

14. MBNA sent letters to Plaintiff dated December 9, 2005, and January 30, 2006, in
which MBNA demanded that Plaintiff set up payment arrangements

15. Plaintiff again disputed any responsibility for the account and requested a copy of the
original contract with signatures

16. On February l l, 2006, Plaintiff sent dispute letters to Trans Union, Equifax, and
Experian regarding the dispute with MBNA.

17. On March 2, 2006, Plaintiffreceived a letter from Equifax stating that, after
investigating the dispute, Equifax determined that Plaintiff was responsible for the l\/IBNA debt.

18. On March 15, 2006, Plaintiff received a letter from Trans Union stating that, after
investigating the dispute, Trans Union determined that Plaintiff was responsible for the MBNA
debt.

19. On March 21, 2006, World’s Foremost Bank closed Plaintiff`s account based on the
incorrect information of MBNA in Plaintiff`s Trans Union report.

20. On l\/larch 27, 2006, Plaintiff sent new dispute letters to Trans Union, Equifax, and
Experian regarding the same dispute with MBNA.

21. On April 18, 2006, Plaintiff received another letter from Equifax again stating that
after investigating the dispute, Equifax determined that Plaintiff was responsible for the l\/IBNA
debt.

22. On April 19, 2006, Plaintiff received another letter from Trans Union again stating

that after investigating the dispute, Trans Union determined that Plaintiff was responsible for the

MBNA debt.

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23. On May 18, 2006, Plaintiff sent a dispute letter to MBNA asking for specific
information to verify Plaintiff’s responsibility to the account, including Plaintiff’ s signature on
original application or contract of the account.

24. In June of 2006, MBNA sent another demand letter to Piaintiff for the balance due.
MBNA did not send any verification paperwork as requested by the Plaintist letter dated May
18, 2006.

25. On June 11, 2006, Citibanl< sent Plaintiff a letter stating that Citibanl< had reduced
Plaintiff’s credit line from $14,900 to 3500 after reviewing Plaintiff’ s Experian report.

26. On August 21, 2006, Plaintiff applied for an auto loan though Citibank Auto, which
was later declined because of incorrect information contained in Plaintiff`s Equifax report.

27. On September 14, 2006, Plaintiff was declined financing by HSBC Auto Finance
based on information supplied by Trans Union.

28. On Septernber 17, 2006, Plaintiff was declined financing by Bank of America, N.A.
based on information supplied by Trans Union.

29. On November 1, 2006, Plaintiff wrote a dispute letter to Equifax regarding the
continuing dispute with MBNA.

30. To date, Experian has failed to respond to any of the disputes filed by the Plaintiff.

FIRST CAUSE ()F ACTION
Violations of Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. - Defendant MBNA

31. Paragraphs 1-30 are herein incorporated

32. MBNA is a person as that term is defined by the FCRA, § 1681a(b), and a furnisher
of information to consumer reporting agencies as contemplated by the FCRA, § 16815-2.

33. Pursuant to FCRA § l681s-2(b), l\/IBNA has a duty to perform a reasonable

investigation in response to consumer disputes, such as those Plaintiff lodged with Trans Union,

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Experian, and Equifax. MBNA knew or should have known, when it received notice of
Plaintiff” s dispute of the account from Trans Union, Experian, and Equifax, that Plaintiff
disputed the account because it had received notice of Plaintiff`s dispute directly from Plaintiff
by phone in November of 2005, and by letters in December of 2005 and May of 2006.

34. MBNA violated FCRA § l68ls-2(b) by failing to properly investigate Plaintiff’s
disputes when requested to do so by Trans Union, Experian, and Equifax and failure to inform
the consumer reporting agencies that Plaintiff disputed the debt in response to the investigation
that Plaintiff disputed the account.

35. MBNA’s failure to correct the disputed information and its continued reports to third
parties stating Plaintiff owed MBNA over 832,000 constitutes willful and/or negligent violations
ofFCRA § 168ls-2(b).

36. As a result of MBNA’s failure to correct the disputed information, Plaintiff was
denied credit on several occasions, had an existing credit card terminated, and had another credit
card’s spending limit cut by 314,400.

37. For its willful violations of the FCRA, MBNA is liable to Plaintiff for actual
damages, attorney’s fees, costs, and punitive damages pursuant to FCRA § l68ln.

38. For its negligent violations ofthe FCRA, MBNA is liable to Plaintiff for actual
damages, attorneys’ fees, and costs pursuant to FCRA § 16810.

SECOND CAUSE OF ACTION
Violations of Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. - Defendant Trans Union

39. Paragraphs 1-30 are herein incorporated
40. Trans Union is a person as that term is defined by the FCRA, § 1681a(b), and a
consumer reporting agency as contemplated by the FCRA.

41. Pursuant to FCRA § l681i, Trans Union has a duty to perform a reasonable

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investigation in response to consumer disputes, such as those Plaintiff lodged with Trans Union.

42. Trans Union violated FCRA § 168 li by failing to properly investigate Plaintiff` s
dispute of the MBNA account when requested to do so.

43. Trans Union’s failure to correct the disputed information and its continued reports to
third parties that Plaintiff owed a balance to MBNA constitute willful and/or negligent violations
ofFCRA § 1681i.

44. When preparing a credit report regarding a consumer, Trans Union is also required by
§ 1681e(b) of the FCRA to follow reasonable procedures to assure maximum possible accuracy
of the information concerning the individual about whom the report relates

45. As a result of Trans Union’s failure to comply with the mandates ofthe FCRA,
Plaintiff was denied credit on two separate occasions, and had an existing credit card terminated

46. F or its willful violations of the FCRA, Trans Union is liable to Plaintiff for actual
damages attorney’s fees, costs, and punitive damages pursuant to FCRA § 1681n.

47. F or its negligent violations of the FCRA_, Trans Union is liable to Plaintiff for actual
damages attorneys’ fees, and costs pursuant to FCRA § 16810.

THRID CAUSE OF ACTION
Violations of Fair Credit Reportirlg Act, 15 U.S.C. §§ 1681 et seq. - Defendant Experian

48. Paragraphs 1-30 are herein incorporated

49. Experian is a person as that term is defined by the FCRA, § 1681a(b), and a consumer
reporting agency as contemplated by the FCRA.

50. Pursuant to FCRA § 1681i, Experian has a duty to perform a reasonable investigation
in response to consumer disputes such as those Plaintiff lodged with Experian.

51. Experian violated FCRA § l68li by failing to properly investigate Plaintiff"’ s dispute

ofthe MBNA account when requested to do so.

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52. Experian’s failure to correct the disputed information and its continued reports to
third parties that Plaintiff owed a balance to MBNA constitute willful and/or negligent violations
ofFCRA § 16811.

53. When preparing a credit report regarding a consumer, Experian is also required by §
l681e(b) of the FCRA to follow reasonable procedures to assure maximum possible accuracy of
the information concerning the individual about whom the report relates

54. As a result of Experian’s failure to comply with the mandates ofthe FCRA, Plaintiff
suffered a reduction in available credit by 814,400 on one particular credit card.

55. F or its willful violations of the FCRA, Experian is liable to Plaintiff for actual
damages attomey’s fees costs and punitive damages pursuant to FCRA § 1681n.

56. F or its negligent violations of the FCRA, Experian is liable to Plaintiff for actual
damages attorneys’ fees and costs pursuant to FCRA § 16810.

FOURTH CAUSE OF ACTION
Violations of Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. - Defendant Equifax

57. Paragraphs 1-30 are herein incorporated

58. Equifax is a person as that term is defined by the FCRA, § l681a(b), and a consumer
reporting agency as contemplated by the FCRA.

59. Pursuant to FCRA § 1681i, Equifax has a duty to perform a reasonable investigation
in response to consumer disputes such as those Plaintiff lodged with Equifax.

60. Equifax violated FCRA § 1681i by failing to properly investigate Plaintiff`s dispute
of the MBNA account when requested to do so.

61. Equifax’s failure to correct the disputed information and its continued reports to third

parties that Plaintiff owed a balance to MBNA constitute willful and/or negligent violations of

FCRA § man

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62. When preparing a credit report regarding a consumer, Equifax is also required by §
1681e(b) of the FCRA to follow reasonable procedures to assure maximum possible accuracy of
the information concerning the individual about whom the report relates

63. As a result of Equifax’s failure to comply with the mandates of the FCRA, Plaintiff
was denied credit.

64. For its willful violations of the FCRA, Equifax is liable to Plaintiff for actual
damages attorney’s fees costs and punitive damages pursuant to FCRA § 1681n.

65. For its negligent violations ofthe FCRA, Equifax is liable to Plaintiff for actual
damages attorneys’ fees and costs pursuant to FCRA § 16810.

WHEREFORE, Plaintiff seeks recovery of monetary damages statutory damages pursuant to 15
U.S.C. § 1681n and § 16921<; punitive damages pursuant to 15 U.S.C. § 168ln; costs and

attorney’s fees pursuant to 15 U.S.C. § 1681n; damages costs and attorney’s fees pursuant to 15
U.S.C. § 16810; and such other relief as this Court deems appropriate

PLAINTIFF, N.SCOTT BURNS

 

Da ,Blinn, ed Bar No. ct02188
Consumer Law Group, LLC

35 Cold Spring Rd. Suite 512

Rocky Hill, CT 06067

Tel. (860) 571-0408 Fax. (860) 571-7457
dblinn@consumerlawgroup.com

